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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 MEDIX STAFFING SOLUTIONS, INC.,                 §
                                                 §
                Plaintiff,                       §
                                                 §
 vs.                                             §   Case No. 3:23-cv-00818-G
                                                 §
 STEWARD HEALTH CARE NETWORK,                    §
 INC., et al,                                    §
                                                 §
                Defendants.                      §


 DEFENDANTS STEWARD HEALTH CARE NETWORK, INC., STEWARD HEALTH
  CARE SYSTEM LLC, STEWARD HEALTH CARE HOLDINGS LLC, STEWARD
     MEDICAL GROUP, INC., AND STEWARD MEDICAL HOLDINGS LLC’S
   DISCLOSURE STATEMENT AND CERTIFICATE OF INTERESTED PERSONS


       Defendants Steward Health Care Network, Inc., Steward Health Care System LLC,

Steward Health Care Holdings LLC, Steward Medical Group, Inc., and Steward Medical Holdings

LLC file this Disclosure Statement and Certificate of Interested Persons, stating—without

admitting that any of the below defendant entities are liable to Plaintiff Medix Staffing Solutions,

Inc. (“Medix”)—that the following persons or other legal entities may be financially interested in

the outcome of this matter:

1.     Medix.

2.     Steward Health Care Network, Inc. No publicly held corporation owns 10% or more of
       Steward Health Care Network, Inc.’s stock.

3.     Steward Health Care System LLC. No publicly held corporation owns 10% or more of
       Steward Health Care System LLC.

4.     Steward Health Care Holdings LLC. No publicly held corporation owns 10% or more of
       Steward Health Care Holdings LLC.

5.     Steward Medical Group, Inc. No publicly held corporation owns 10% or more of Steward
       Medical Group, Inc.’s stock.


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6.     Steward Medical Holdings LLC. No publicly held corporation owns 10% or more of
       Steward Medical Holdings LLC.

7.     Medical Properties Trust, Inc.

                                               /s/ Thomas G. Yoxall
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                                               COUNSEL FOR DEFENDANTS STEWARD
                                               HEALTH CARE NETWORK, INC.,
                                               STEWARD HEALTH CARE SYSTEM LLC,
                                               STEWARD HEALTH CARE HOLDINGS LLC,
                                               STEWARD MEDICAL GROUP, INC., AND
                                               STEWARD MEDICAL HOLDINGS LLC




                                 CERTIFICATE OF SERVICE

        I certify that on May 11, 2023, I caused this document to be filed with the Court’s electronic
filing system and set for service on counsel of record.


                                               /s/ Thomas G. Yoxall




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